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                             THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH


    GARY H. HOOD,                                    ORDER ADOPTING [14] REPORT AND
                                                           RECOMMENDATION
                           Plaintiff,
                                                         Case No. 2:23-cv-00272-DBB-CMR
    v.
                                                             District Judge David Barlow
    SOCIAL SECURITY ADMINISTRATION,
    et al.,                                              Magistrate Judge Cecilia M. Romero

                           Defendants.



         The Report and Recommendation issued by United States Magistrate Judge Cecilia M.

Romero on November 5, 2024 recommends that the court dismiss Plaintiff Gary H. Hood’s

(“Mr. Hood”) action without prejudice for failure to prosecute this case and abide by the court’s

orders.1 On December 4, 2023, the magistrate judge ordered Mr. Hood to file an amended

complaint by January 4, 2024 after finding that his Complaint failed “to properly identify which

of his rights have been violated, or to plead his requests under the proper statutes” in violation of

Rule 8 of the Federal Rules of Civil Procedure.2 On January 2, 2024, Mr. Hood filed a Motion to

Amend the Complaint,3 which the court denied because it was procedurally improper.4 Mr. Hood

was again instructed to file an amended complaint by April 18, 2024.5 Mr. Hood failed to file an

amended complaint as instructed. Thus, on July 17, 2024, the magistrate judge issued an Order to




1
  R. & R. 3, ECF No. 14.
2
  Order to File Am. Compl. 4, ECF No. 8.
3
  Mot. to Amend Compl., ECF No. 9.
4
  Order, ECF No. 10.
5
  Id.


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Show Cause as to why this matter should not be dismissed.6 The Order specified that “[f]ailure to

do so may result in a recommendation that this case be dismissed.”7

        Because Mr. Hood did not respond to the Order to Show Cause or otherwise file an

amended complaint, the magistrate judge recommended that the court dismiss his action without

prejudice.8 Mr. Hood was notified of his right to file an objection to the Report and

Recommendation within 14 days of its service pursuant to Federal Rule of Civil Procedure

72(b)(2). Because Mr. Hood failed to file an objection to the Report and Recommendation, and

because Judge Romero’s analysis and conclusions are sound, the court ADOPTS the Report and

Recommendation. Accordingly, Mr. Hood’s action is DISMISSED without prejudice.



        Signed December 4, 2024.

                                              BY THE COURT


                                              _________________________________
                                              David Barlow
                                              United States District Judge




6
  Order to Show Cause, ECF No. 11.
7
  Id.
8
  R. & R. 3.


                                                                                               2
